UNITED STA TES DISTRICT COUR T
WESTERN DISTRICT OF MISSOURI

CRIMINAL CASE COVER SHEET
Matter to be Sealed
|:] Secret |ndictment
\] Juveni|e

Count_v of Ofl`ense f Division of Filing
Texas f Southem

Defendant Information

Defendant Name: Wesley Warren Norris

 

Alias Name:

 

Birth Date; 06-14-1978

 

Related Case lnformation

Supersedirlg IndiCtm€rlt? :] YeS |:l NO lfyes, original case nunlbel':

 

New Defendant(s)? [:] Yes |:| No

Prior Complaint Case Number, if any:

 

Prior Target Letter Case Number, if any:

 

U.S. Attorney Information
AUSA Ami Miller

 

Interpreter Needed?

\:| Yes Language andfor Dia]ect:
\:| No

 

Location Status

Arrest Date:

 

 

|:| Currently in Federal Custody Writ Required? |:l YeS
|:| Currently in State Custody

|:| C l B d Warrant Required? |:| Yes
urrent y on on

 

 

 

U.S.C. Citations
Total # of Counts 1 count

|:|No
|:|No

 

Set |ndex Key 8¢ Description of Offense Charged Count[s]

 

1 18:2252A,F ACTIVITIES RELATING TO MATERIAL CONSTITUTING OR CONTAI]\ 1

 

 

 

 

 

 

 

(May be continued on reverse) Revised: 12-07-2017

Case 6:17-cr-03139-RK Document 1-1 Filed 12/12/17 Page 1 of 1

 

